Case 4:20-cv-00447 Document1 Filed on 02/10/20 in TXSD Page 1 of 6

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

 

HOUSTON DIVISION
TAMARA GARRETT HALL §
Plaintiff :
VS. : Civil action no.
: (Jury Trial Demanded)
MEDICREDIT, INC. §
Defendant

PLAINTIFFS’ ORIGINAL COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

Comes now, Tamara Garrett Hall, the Plaintiff, and complaining of MediCredit, Inc., the
Defendant, files this her Plaintiff's Original Complaint and would respectfully show as follows:

NATURE OF THE ACTION AND JURISDICTION
1. This lawsuit alleges violations of Title VII of the Civil Rights Act of 1964, as amended,
and Chapter 21 of the Texas Labor Code based upon sexual harassment discrimination and
retaliation.
2. Jurisdiction is vested in this Court pursuant to 28 U.S.C. §§1331 and 1343. In addition, it
has ancillary and pendent jurisdiction over the claims brought under Chapter 21 of the Texas Labor
Code.
CONDITIONS PRECEDENT

3. Plaintiff would show that all conditions precedent have been satisfied in bringing this

lawsuit. Plaintiff timely filed her Charge of Discrimination with The Equal Employment
1
Case 4:20-cv-00447 Document1 Filed on 02/10/20 in TXSD Page 2 of 6

Opportunity Commission. She received her “right to sue” letter on or about November 23, 2019
and files this lawsuit within ninety days of her receipt of the letter.
THE PARTIES

4. The Plaintiff Tamara Garrett Hall (Garrett Hall) is an individual and resides in Harris
County, Texas.
5. The Defendant MediCredit is a Missouri Corporation and may be served by and through
its registered agent for service of process CT Corporation System, 1999 Bryan Street, Suite 900,
Dallas, Texas 75201.

FACTUAL BACKGROUND
6. On or about April 29, 2019, Garrett Hall began her employment with MediCredit as a
Collection Specialist. She came to MediCredit having previously worked for years in medical
billing collections and thus has the knowledge of how collections of medical accounts receivable
work.
7. For most of her short tenure in this position, she received excellent marks on her collection
work, as evidence by the two certificates she received from MediCredit for June and July of 2019
for exceeding her goals. At one point, her supervisor, Alonzo Nicholas (Nicholas) even told Garrett
Hall to keep doing exactly what she is doing. She made “valuable contributions” to MediCredit as
stated in the certificates.
8. Unfortunately, beginning only a month into her position with MediCredit, Nicholas
began touching Garrett Hall several times in manners that made her uncomfortable. On or about
May 25, 2019, Nicholas placed his hand on her back during an interaction. She immediately

emailed Nicholas to inform him that the touching was unwelcome—he apologized.
Case 4:20-cv-00447 Document1 Filed on 02/10/20 in TXSD Page 3 of 6

9. But Nicholas did not stop touching her. On or about June 21, 2019 Nicholas again
touched Garrett Hall in the same manner, by placing his fingers on her back. She promptly
emailed Nicholas asking him for the second time not to touch her.

10. Finally, on or about July 3, Nicholas brushed the side of his body against that of Garrett
Hall. After this third instance of touching, she reported her experience to Christy Taylor (Taylor)
the manager of the Human Resources Department.

11. Ms. Taylor promised Garrett Hall that she would not face retaliation for reporting the
instances of harassment to MediCredit. But that was apparently a false statement. After lodging
her complaints about Nicholas’ touching her, Garrett Hall immediately began experiencing
retaliation from MediCredit. This retaliation began by MediCredit monitoring her collection
phone calls to try and see if she was following company rules regarding the handling of calls.
12. On or about July 8".—just five days after having reported the unwelcome touching—
Nicholas monitored and failed three of Garrett Halls’ phone calls that he had “cherry picked”.
Soon thereafter, three additional calls were failed and two written warnings (“write-ups”) were
issued to Garrett Hall. These failed calls and punitive write ups stand in stark contrast to the
recognition that she had received on her collection activities prior to her interaction with
Nicholas and reporting such touching to the Human Resources Department.

13. In the face of this retaliation from MediCredit and receiving no aid from the Human
Resources Department, Garrett Hall filed a Charge of Discrimination (“Charge”) with the Equal
Employment Opportunity Commission (“EEOC”) alleging sexual harassment and retaliation.
MediCredit received a copy of the Charge and responded to it. However, after the filing the
charge, MediCredit terminated Garrett Halls’ employment while the EEOC investigation was

underway and still pending.
Case 4:20-cv-00447 Document1 Filed on 02/10/20 in TXSD Page 4 of 6

CAUSES OF ACTION
Sexual Harassment under Title VII and the Texas Labor Code
14. At all relevant times during her employment with MediCredit, Garrett Hall was subjected
to unwanted and unwelcome physical touching and duly reported it to MediCredit’s Human
Resources Department. Despite expressing her concerns to MediCredit about suffering retaliation
due to her reporting the unwanted touching, MediCredit assured Garrett Hall that she would not
suffer any retaliation or other adverse employment action.
15. Sexual harassment in the workplace is made unlawful by the Civil Rights Act of 1964 (Title
VII) 42 U.S.C. § 2000e-2(a)(1) and Tex. Lab. Code § 21.001(1). Garrett Hall had to incur
Nicholas’ constant unwanted touching of her body despite her telling him not to do so and after
reporting it to the Human Resources Department at MediCredit.
16. Plaintiff Hall experienced harassment sufficiently severe to alter the conditions of her
employment because—as a private person—being repeatedly touched without her consent created
a distressing working atmosphere.
Retaliation under Title VII and The Texas Labor Code
17. After reporting the sexual harassment to MediCredit’s Human Resources department,
Garrett Hall was subjected to constant, pervasive, and indefensible retaliation culminating in the
termination of her employment.
18. She filed her Charge of Discrimination with the EEOC complaining of same. A copy of
the Charge was forwarded to the Texas Workforce Commission-Civil Rights Division. After
having received a copy of the Charge and tendering its “response” to the EEOC proclaiming its
innocence, MediCredit nevertheless abruptly terminated Garrett Hall from employment.

19. Garrett Hall can establish a claim for retaliation by demonstrating:
Case 4:20-cv-00447 Document1 Filed on 02/10/20 in TXSD Page 5 of 6

e She engaged in an activity protected by Title VII and the Texas Labor Code;

e That an adverse employment action occurred; and

e That a causal link exists between the protected activity and the adverse employment action.

42 U.S.C. § 2000e-3(a); Clark County Sch. Dist. v. Breeden, 532 U.S. 268, 269 (2001);
Tex. Lab. Code § 21.055.
20. Garrett Hall engaged in a protected activity by opposing practices made unlawful by Title
VII and Chapter 21 of the Texas Labor Code. She reported the unwanted touching to the
appropriate personnel at defendant hoping it would cease. But it didn’t, and she thereafter suffered
serious retaliation. The retaliation began as a campaign to select a small sample of phone calls and
repeatedly give them failing scores, and ended with defendant firing Garrett Hall.
21. Prior to reporting the harassment, Hall received phenomenal scores on her calls and was
recognized by MediCredit for exceeding her goals. Ultimately, MediCredit terminated Hall—the
most severe form of retaliation. This form of retaliation was so blatant—it occurred after
MediCredit had actual knowledge of Garrett Halls’ pending EEOC Charge of Discrimination—
that it belies all logic and reason. There is a clear causal link between reporting the harassment and
Hall’s failing phone scores and termination because of the stark contrast between her pre-reporting
scores and her subsequent scores.
22. Thus, Garrett Hall sues MediCredit for retaliation in violation of 42 U.S.C.§2000e-3 and
Chapter 21.055 of the Texas Labor Code.
DAMAGES

23. Garrett Hall has suffered the ultimate tangible employment action by being wrongfully
fired. She seeks damages under 42 U.S.C.§2000e-5 and Chapter 21.2585 of the Texas Labor Code

for compensatory and punitive damages. In addition, she seeks recovery of her attorneys’ fees and

5
Case 4:20-cv-00447 Document1 Filed on 02/10/20 in TXSD Page 6 of 6

expenses under 42 U.S.C.§2000e-5 and Chapter 21.259 of the Texas Labor Code, as well as non-
compensatory damages in accordance with federal and state statutes. She also seeks punitive
damages because the defendant acted with malice or reckless indifference to the protected rights
of Garrett Hall.

WHEREFORE, PREMISES CONSIDERED, Plaintiff Tamara Garrett Hall prays the
Defendant MediCredit, Inc. be cited to appear and answer herein and that, upon trial, she have
judgment from and against the Defendant for her actual and compensatory damages, non-
compensatory damages, punitive damages and her attorneys’ fees and expenses. Plaintiff further

prays for any other remedy in law or in equity to which she may show herself to be justly entitled.

Respectfully submitted,

/s/ R. Tate Young
R. TATE YOUNG

Tate Young Law Firm

SBN: 22207100

$005 Woodway Drive

Suite 201

Houston, Texas 77056

Telephone: (713) 626-7112

Facsimile: (713) 626-7113

E-mail: tyoung@tateyounglawfirm.com

Attorney for Plaintiff
